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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

    UNITED STATES OF AMERICA                     §
                                                 §
    v.                                           §   NO. 4:09CR196
                                                 §   Judge Crone
    DECARLOS DANYELLE PAUL                       §
    STEVENSON (1)                                §
     a.k.a. "Big Los"                            §
    VERNETTE LYNNE EDWARDS (2)                   §
    NINA LOVE HARDMAN (4)                        §

               ORDER UNSEALING FIRST SUPERSEDING INDICTMENT

          On this day came on to be considered the Government's Motion to Unseal First

    Superseding Indictment as per defendants DECARLOS DANYELLE PAUL

    STEVENSON, VERNETTE LYNNE EDWARDS and NINA LOVE HARDMAN in the

    above captioned matter, and upon consideration of the same, the Court is of the opinion

    that said Motion should be granted.
.
          IT IS THEREFORE ORDERED that Indictment as per defendants DECARLOS

    DANYELLE PAUL STEVENSON, VERNETTE LYNNE EDWARDS and NINA

    LOVE HARDMAN in the above captioned matter is unsealed.

           SIGNED this 23rd day of November, 2009.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES MAGISTRATE JUDGE
